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Of Attorneys for Plaintiffs

                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF OREGON
                               EUGENE DIVISION


DEREK JOHNSON, personal representative of
KELLY CONRAD GREEN II, deceased;
KELLY CONRAD GREEN and SANDY
PULVER,
                                                     Civil Action No. 6:13-cv-01855-TC
                              Plaintiffs,
              v.
                                           PLAINTIFFS’ THIRD MOTION TO
CORIZON HEALTH, INC., a Tennessee COMPEL PRODUCTION OF
Corporation; LANE COUNTY, an Oregon DOCUMENTS
county; DR. JUSTIN MONTOYA, an individual;
VICKI THOMAS, an individual; KIRSTIN
WHITE, an individual; and SHARON
EPPERSON (née FAGAN), an individual,

                              Defendants.



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       John T. Devlin, counsel for plaintiffs, has conferred with Adam Heder, counsel for

the Corizon defendants, about this motion. The parties have been unable to resolve the

dispute which is the basis of this motion.

       Plaintiffs move for an Order compelling production of a two-page litigation

history that Corizon recently provided to Lane County as part of an April 2015 proposal

to keep the contract for medical and related services at the Lane County Jail. This motion

is supported by the Memorandum in Support of Plaintiffs’ Third Motion to Compel

Production of Documents and the Declaration of John T. Devlin in Support of Plaintiff’s

Third Motion to Compel Production of Documents.



       DATED this 26th day of May, 2015.

                                         ROSENTHAL GREENE & DEVLIN, PC
                                          /s/ John T. Devlin
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                         CERTIFICATE OF SERVICE
I hereby certify that I served true and correct copies of the foregoing:

       1. PLAINTIFFS’ THIRD MOTION TO COMPEL PRODUCTION OF
          DOCUMENTS
on the following:
   James Daigle                                  Richard K. Hansen
   Adam Heder                                    Anne M. Talcott
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        Of Attorneys for Corizon defendants.         Of Attorneys for Lane Co. defendant.


by the following method/s:

                mail with postage prepaid, deposited in the US mail at Portland, OR
          X     service made via electronic mailing and/or CM/ECF filing
                hand delivery
                facsimile transmission
                overnight delivery.

       Dated this 26th day of May, 2015.

                                           /s/ John T. Devlin
                                           ELDEN M. ROSENTHAL, OSB No. 722174
                                           MICHAEL A. GREENE, OSB No. 802445
                                           JOHN T. DEVLIN, OSB No. 042690
                                           Of Attorneys for Plaintiffs


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